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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 IN RE: DOMESTIC DRYWALL                           MDL No. 2437
 ANTITRUST LITIGATION
                                                   13-MD-2437
 THIS DOCUMENT RELATES TO:
 ALL ACTIONS



                                       MEMORANDUM

Baylson, J.                                                                       August 20, 2015

       The Court held argument on May 20, 2015 concerning the plaintiffs’ motion to compel

defendants to produce judgment sharing agreements. A fair summary of the dispute about this

issue is that the plaintiffs did not initially pursue this discovery as part of Phase I discovery,

which concerned whether there was a legal agreement to fix prices. However, subsequently,

plaintiffs have contended that these agreements should be produced, particularly after two of the

defendants reached settlement agreements with plaintiffs.

       The Court ordered defense counsel to bring the judgment sharing agreements to the

hearing for in camera inspection, which took place during the hearing.

       The Court also held an ex parte sidebar with defense counsel during which the Court

recommended that one portion of the judgment sharing agreement should likely be produced to

the plaintiffs, concerning the fact that the agreement did not restrict any defendant from

individually settling with the plaintiffs. Defense counsel agreed to advise the Court and plaintiffs

within fourteen (14) days whether this would be done voluntarily. By letter dated June 3, 2015,

liaison counsel for defendants advised the Court that defendants had disclosed this provision as

suggested.
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         The Court also noted that the judgment sharing agreements were dated in February and

April, 2015, at least two years after the end of the relevant time period for Phase I of discovery.

It was therefore unlikely that they could be relevant as to whether any agreement to fix prices

had been made by any one or more of the defendants.

         At the end of the hearing, the Court indicated that it would likely withhold ruling on this

issue until plaintiffs had filed a response to the summary judgment motions, and plaintiffs were

welcome to explain further in their summary judgment briefing why these documents might be

relevant at this time.

         Plaintiffs filed their response to the summary judgment motions on July 2, 2015.

Although the Court is still reviewing the voluminous filings, Plaintiffs do not appear to have

included additional arguments regarding the judgment sharing agreements, at least not

prominently.

         Under the circumstances, the Court concludes that the judgment sharing agreements are

not relevant at this stage of the case. Plaintiffs’ motion will be denied, without prejudice to

Plaintiffs raising this issue again if another phase of discovery occurs after the Court reaches a

decision on the summary judgment motions.

         An appropriate order follows.

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